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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


    Civil Action No. 1:21-cv-02319

    JASON WRIGHT,

                     Plaintiff,

    v.

    NATIONAL BOARD OF MEDICAL EXAMINERS,

                     Defendant.



                                  DECLARATION OF AMY BUONO

            1.      My name is Amy Buono. I am the Director of Program Management in the Office

   of the USMLE Secretariat. Unless otherwise stated, I have personal knowledge of the facts stated

   below, based on my work in the Office of the USMLE Secretariat and my review of company

   records maintained in the ordinary course of business, as referenced below.

            2.      The United States Medical Licensing Examination (“USMLE”) is a standardized

   examination used to evaluate applicants’ competence for medical licensure in the United States

   and its territories.

            3.      The National Board of Medical Examiners (“NBME”) is a co-sponsor of the

   USMLE program. The USMLE Secretariat supports the USMLE program on behalf of the

   program sponsors.




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            4.    There are three “Steps” to the USMLE, all of which must be passed before an

   individual with an M.D. degree is eligible to apply for an unrestricted license to practice medicine

   in the United States.

            5.    Under the current USMLE testing-eligibility criteria, which is applicable to all

   examinees, examinees are ineligible to take the USMLE if they have made four or more attempts

   at a USMLE Step and have not passed the examination. This limitation on how many times an

   examinee may take a Step exam was implemented in 2021 and became effective for all exam

   applications submitted on or after July 1, 2021. This change was made to protect the integrity of

   the examination and to more closely match the USMLE attempt limits imposed by the majority of

   state medical boards.

            6.    The USMLE program announced on February 12, 2020, that it would be adopting

   this policy regarding eligibility to take Step exams. The USMLE program also alerted examinees

   to this policy change in the 2021 Bulletin of Information, which was published in September 2020.

   See Ex. A at 2 (“Special Notes for 2021; Upcoming Policy Changes”), available at

   https://www.usmle.org/sites/default/files/2021-08/2021bulletin.pdf.       Examinees     also   were

   informed of this policy change on the USMLE website, at https://www.usmle.org/common-

   questions/attempt-limit.

            6.    Examinees who have four or more attempts at a Step examination may ask a state

   medical board to request that the examinee be allowed an additional attempt. If such a request

   were made by a state medical board on behalf of an examinee and granted by the USMLE

   Secretariat, the examinee would be eligible to take the Step examination one additional time.




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            7.     Jason Wright has taken the Step 3 examination four times. He tested most recently

   on October 22 and 26, 2021, and he did not pass the test.

            8.     Because he has now taken the Step 3 examination four times, Dr. Wright is

   ineligible to retake the Step 3 examination under standard USMLE eligibility policy. He may,

   however, seek an exception to this eligibility policy through a petition from a state medical board.

   To date, the USMLE Office of the Secretariat has not received any such petition on behalf of Dr.

   Wright.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on November 23, 2021.

                                                           ____________________________________
                                                           Amy Buono




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